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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

In Re:        Oil Spill by the Oil Rig         ]                      MDL No. 2179
              “Deepwater Horizon” in the       ]
              Gulf of Mexico, on April 20, 2010]                      SECTION: J
                                               ]
                                               ]                      Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                      Mag. Judge Wilkinson
                                               ]

                  SWORN DECLARATION OF THOMAS PHILIP WRIGHT

         Pursuant to 28 U. S. C. § 1746 Thomas Philip Wright declares the following:

         1.      “My name is Thomas Philip Wright. The facts contained in this declaration are

within my personal knowledge and are true and correct.

         2.      I worked for O’Brien’s Response Management, Inc. (O’Brien’s) from June 29,

2010 to May 13, 2011. O’Brien’s initially assigned me to work in Division 5, an area near the

end of the Mississippi River Southwest Pass, as a division supervisor. I traveled to this location

daily to direct cleanup operations for this area and assess the progress of the cleanup response to

BP’s Deepwater Horizon oil spill in April 2010. I was later promoted to deputy operations

section chief in Venice, Louisiana.

         3.      As a deputy operations section chief in Venice I was the direct supervisor for all

other division supervisors working in Venice for O’Brien’s. I made frequent trips to the field to

observe the operations of these divisions and support the division supervisors.

         4.      I also observed beach cleanup and generated reports detailing what areas were

being cleaned daily, the personnel and equipment being used and the progress being made.

         5.      My last position with O’Brien’s was Operations Section Chief. I supervised and

provided operational direction for cleanup personnel. It was my job to fill out daily reports and




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                                                                                             Ex. 13
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make trips to field sites to assess the cleanup situation. I also attended daily meetings to explain

what we picked up or deployed each day and the equipment and personnel being utilized.

       6.       O’Brien’s treated me as an independent contractor while working on the response

to the spill until January 2011, when I was reclassified as a full-time, temporary employee.

       7.       Many other workers worked for O’Brien’s performing the same duties I

performed and were also treated as independent contractors. I refer to these other workers as

“Spill Workers.”

       8.       Throughout the response to the spill, any field break was scheduled through

O’Brien’s for myself and other O’Brien’s Spill Workers.               Regarding my schedule, I

communicated with O’Brien’s human resources manager in Spring, Texas.

                                             Hours Worked

       9.       During my employment, the other Spill Workers and I typically worked seven

days per week. I frequently went more than a month without a day off.

       10.      The other Spill Workers and I were regularly scheduled to work twelve hour

shifts for O’Brien’s. However, our actual shifts were often longer than the regularly scheduled

twelve hours.

       11.      Accordingly, the other Spill Workers and I routinely worked many hours in

excess of forty in a week. Exhibit 1 is an example of one of my time sheets from November 29,

2010 to December 5, 2010. I worked over twelve hours each of these days. See Exhibit 1.

                                                Pay

       12.      When O’Brien’s hired me and the other Spill Workers, we signed “Teaming

Agreements” that state we would be paid by the day. My agreement with O’Brien’s states I




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would be paid “$450 per day.” A true and correct copy of the agreement I signed with O’Brien’s

is attached as Exhibit 2.

       13.     When I began my employment with O’Brien’s, I was paid $450.00 per day and

my day rate was later increased to $600.00 per day as of November 3, 2010 based upon an

agreement with O’Brien’s for increased responsibility. These amounts did not increase if I

worked more than my scheduled hours.

       14.     O’Brien’s did not pay me or the other Spill Workers overtime compensation for

hours we worked in excess of forty hours during the time O’Brien’s classified us as independent

contractors.

                                             Control

       15.     O’Brien’s had the authority to hire and fire me and other Spill Workers. I know

this because John McHugh, an O’Brien’s employee, hired me over the phone. Just before

reporting to work in Venice, another O’Brien’s employee sent me O’Brien’s hiring documents

and employment policies via electronic mail.

       16.     When I was hired, Rod Dillon with O’Brien’s told me what my role and

responsibility was and provided feedback on my performance.

       17.     O’Brien’s controlled the performance of our work in all the locations to which I

was assigned. For example, I had regular meetings with O’Brien’s personnel, BP personnel, and

local, state and federal officials including Coast Guard personnel . In these meetings, the other

Spill Workers and I were given instructions regarding our daily tasks and job performance from

the command staff and the incident command system.




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       18.     I generated a daily report after being promoted to Operations Section Chief in

Venice, Louisiana. These reports were sent to Trent Sehlinger, an O’Brien’s employee located

in New Orleans, Louisiana.

       19.     O’Brien’s, through its own supervisors initially and later through the incident

command system and senior command staff, directed the information I was to track and how I

was to report it. These individuals provided instruction on how to fill out the report forms I

completed.

       20.     Other O’Brien’s spill workers and I were directed to scan our badges at the gate in

Venice to gain entry to the work locations and vessels. Our badges identified us as “O’Briens”

and we wore them at all times at work in the office and in the field.

       21.     I coordinated field breaks for the operations supervisors for O’Brien’s and

communicated them to O’Brien’s human resources in Spring, Texas.

       22.     O’Brien’s directed me and other Spill Workers filling out timesheets and expense

reports.

       23.     O’Brien’s required me and the other Spill Workers through command staff, and

local, state and federal officials including the Coast Guard to follow policies and procedures that

dictated who we reported to in the chain of command, how we behaved on job sites, what we

were permitted/required to wear and how we performed our work. O’Brien’s dictated what

expenses we were allowed to claim for reimbursement, how we filled out timesheets, and that we

were subject to possible random drug and alcohol testing according to our teaming agreements.

       24.     O’Brien’s controlled my and other Spill Workers’ working schedules that were

determined on a daily basis by command staff and the incident command system. Our daily

shifts were typically a minimum of 12 hours. We were not allowed to set our own schedules.




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        25.    The Spill Workers and I were not allowed to hire employees to help us with our

work.

        26.    O’Brien’s prohibited me and the other Spill Workers from working with any other

oil spill contractor while we were employed by O’Brien’s and for one year after our

employment. See Exhibit 2.

        27.    Around January 1, 2011, a woman from HR met with us. She explained

O’Brien’s was going to make us employees. From that point on, O’Brien’s classified me as an

employee.

        28.    Just before I was let go, or “demobilized,” Duane Miller told me that I was to

report to demobilization. In demobilization, my O’Brien’s electronic access badge was

deactivated. After being demobilized, I returned home because I no longer had work or lodging

in Venice.

                                            Investment

        29.    The other Spill Workers and I made little or no investment in working for

O’Brien’s. For example, I was provided with the equipment we used, including printers,

scanners, hard hats, safety vests, safety glasses, shirts and hats. O’Brien’s typically reimbursed

us for travel expenses and provided me with a rental car and lodging when needed.

                                    Special Skill or Expertise

        30.    O’Brien’s did not require me and the other Spill Workers to possess specialized

qualifications, skill or former training prior to hire in order to perform our job duties. I never had

contact with O’Brien’s before I was hired and I received no formal training after being hired. I

found out about employment with O’Brien’s through a friend. Based on his recommendation, I




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                                                                  BP
                                                              RESPONSE
                                                              TIME SHEET
Name: Tom Wright                               Billing Period: 11/29/10 to 12/5/10

Paykey Code: ZKRAUMD252                        Response: Deepwater Horizon – Venice

  Date               End    Total                     Location/Activity
           Start     Time   Hours
           Time
11/29/10   0545    1850     13      Recon Supervisor, DOSC

11/30/10   0550    1850     13      Recon Supervisor, DOSC
12/1/10    0545    1830     12.75   Recon Supervisor, DOSC
12/2/10    0540    1920     13.5    Recon Supervisor, DOSC
12/3/10    0540    1850     13      Recon Supervisor, DOSC
12/4/10    0545    1900     13.25   Recon Supervisor, DOSC
12/5/10    0540    1800     12.3    Recon Supervisor, DOSC




Signature: Tom Wright                                        Date: 12/5/10



                                                                              EXHIBIT 1
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                                                   EXHIBIT 2
